                 Case 23-11469-BLS             Doc 45       Filed 09/21/23        Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                     )
In re:                                                               )   Chapter 11
                                                                     )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                           )   Case No. 23-11469 (BLS)
                                                                     )
                                   Debtors.                          )   (Jointly Administered)
                                                                     )   Docket Ref. No. 9

             INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO
            (A) CONTINUE INSURANCE COVERAGE ENTERED INTO
       PREPETITION AND SATISFY PREPETITION OBLIGATIONS RELATED
    THERETO AND (B) RENEW, AMEND, SUPPLEMENT, EXTEND, OR PURCHASE
    AND FINANCE INSURANCE POLICIES AND (II) GRANTING RELATED RELIEF

         Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), seeking entry of an interim order (this “Interim

Order”), authorizing the Debtors to: (i) authorizing, but not directing, the Debtors to continue their

existing Insurance Policies; (ii) authorizing, but not directing, the Debtors to pay certain

(A) prepetition Insurance Obligations, and (B) postpetition Insurance Obligations in the ordinary

course of business; (iii) authorizing the Debtors to renew, amend, supplement, extend, or purchase

and finance insurance policies in the ordinary course; (iv) authorizing the Debtors to honor Surety

Obligations, to the extent necessary; and (v) granting related relief, all as more fully set forth in

the Motion; and upon consideration of the First Day Declaration; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,


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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
    American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter
    11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.
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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



DOCS_DE:243504.23 03370/001
                 Case 23-11469-BLS        Doc 45      Filed 09/21/23    Page 2 of 5




2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2),

and this Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of

the Motion and opportunity for a hearing on the Motion were appropriate under the circumstances

and no other notice need be provided; and this Court having reviewed the Motion and having heard

the statements in support of the relief requested therein at an interim hearing before this Court (the

“Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted on an interim basis as set forth herein.

        2.       The Debtors are hereby authorized, but not directed, to pay in the ordinary course

of their business, all premiums, claims, deductibles, retrospective adjustments, administrative and

broker’s fees and all other obligations related to the Insurance Policies and Surety Bonds on

account of such prepetition obligations without further order of this Court provided, that, such

payments shall not exceed $120,000 in the aggregate on an interim basis pending a final hearing

on the Motion, and the Debtors are authorized to pay and honor any postpetition Insurance

Obligations in connection with the Insurance Policies and any postpetition Surety Obligations in

connection with Surety Bonds as such obligations come due in the ordinary course of business.

        3.       Subject to entry of a final order and only as necessary to avoid immediate and

irreparable harm, the Debtors are hereby authorized, but not directed, to: (a) maintain their

Insurance Policies and Surety Bonds without interruption, on the same basis and in accordance

with the same practices and procedures that were in effect prior to the Petition Date and in the


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DOCS_DE:243504.23 03370/001
                 Case 23-11469-BLS        Doc 45     Filed 09/21/23    Page 3 of 5




ordinary course of their business, in their business judgment; and (b) maintain their Surety Bonds

in accordance with practices and procedures that were in effect before the commencement of these

chapter 11 cases, including but not limited to, paying all prepetition and postpetition amounts due

in connection with the Surety Bonds, renewing or securing new surety bonds, posting collateral,

honoring indemnity agreements, or canceling any outstanding Surety Bonds.

        4.       The Debtors are authorized, but not directed, to renew, amend, supplement, extend,

or purchase insurance policies, and to enter into, renew, amend, supplement, or extend premium

financing agreements as necessary, to the extent that the Debtors determine that such action is in

the best interest of their estates.

        5.       Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity of any prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

party in interest’s rights to dispute any prepetition claim on any grounds; (c) a promise or

requirement to pay a prepetition claim; (d) an implication or admission that any particular claim is

of a type specified or defined in the Motion or any order granting the relief requested by this

Motion; (e) a request or authorization to assume any prepetition agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; or (f) a waiver of the Debtors’ or any other party

in interest’s rights under the Bankruptcy Code or any other applicable law.

        6.       Each of the banks and financial institutions at which the Debtors maintain their

accounts relating to the payment of the Insurance Obligations and Surety Obligations are

authorized to (a) receive, process, honor, and pay all checks presented for payment and to honor

all funds transfer requests made by the Debtors related thereto, to the extent that sufficient funds

are on deposit in those accounts and (b) accept and rely on all representations made by the Debtors


                                                 3

DOCS_DE:243504.23 03370/001
                 Case 23-11469-BLS          Doc 45     Filed 09/21/23     Page 4 of 5




with respect to which checks, drafts, wires, or automated clearing house transfers should be

honored or dishonored in accordance with this or any other order of this Court, whether such

checks, drafts, wires, or transfers are dated before, on, or after the Petition Date, without any duty

to inquire otherwise.

        7.       The Debtors are authorized, but not directed, to issue new postpetition checks, or

effect new electronic funds transfers, on account of the Insurance Obligation or Surety Obligations,

and to replace any prepetition checks or electronic fund transfer requests that may be lost or

dishonored or rejected as a result of the commencement of the Debtors’ chapter 11 cases.

        8.       Entry of this Interim Order is necessary to avoid immediate and irreparable harm.

The requirements of Bankruptcy Rule 6003(b) have been satisfied.

        9.       Adequate notice of the Motion has been provided under the circumstances. Such

notice satisfies the requirements of Bankruptcy Rule 6004(a).           Notwithstanding Bankruptcy

Rule 6004(h), 7062 and 9014, the terms and conditions of this Interim Order are immediately

effective and enforceable upon its entry.

        10.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

        11.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Interim Order.




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DOCS_DE:243504.23 03370/001
                 Case 23-11469-BLS        Doc 45     Filed 09/21/23    Page 5 of 5




        12.      The final hearing (the “Final Hearing”) on the Motion shall be held on October 18,

2023, at 11:00 a.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on October 11, 2023.

In the event no objections to entry of a final order on the Motion are timely received, this Court

may enter such final order without need for the Final Hearing.




Dated: September 21st, 2023                 BRENDAN L. SHANNON
Wilmington, Delaware                        UNITED STATES BANKRUPTCY JUDGE




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DOCS_DE:243504.23 03370/001
